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                     UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF CALIFORNIA

  Benedict Cosentino                         Case No. 5:13-cv-00912-R-OP

              Petitioner,                    AMENDED ORDER GRANTING
                                             MOTION TO DISMISS
        and                                  PETITION TO COMPEL
                                             ARBITRATION
  Pechanga Band of Luiseno Mission
  Indians; Pechanga Gaming Commission        Date: November 4, 2013
                                             Time: 10:00 a.m.
              Respondent.                    Judge: Hon. Manuel L. Real




        The Motion of respondents Pechanga Band of Luiseno Mission Indians and

  Pechanga Gaming Commission for an order dismissing petitioner’s Petition to

  Compel Arbitration came on for hearing before this Court on November 4, 2013.

  Frank Lawrence, Esq. appeared on behalf of respondents. Andrew W. Twietmeyer,

  Esq. appeared on behalf of petitioner. Having considered the pleadings on file and

  the arguments of counsel, the Court grants the motion with prejudice for the

  following reasons.

        An Indian tribe is subject to suit only where Congress has authorized the

  suit or the tribe has waived its immunity. Kiowa Tribe of Oklahoma v.

  Manufacturing Technologies, Inc., 523 U.S. 751, 754 (1998). This immunity

  extends to governmental agencies of tribes, such as the respondent Gaming

  Commission. Id. at 754-55, 758. Waivers of tribal sovereign immunity must be



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  express and unequivocal. See id. at 754; Oklahoma Tax Comm'n v. Citizen Band

  Potawatomi Indian Tribe, 498 U.S. 505, 509 (1991) (citing Santa Clara Pueblo v.

  Martinez, 436 U.S. 49, 58-59 (1978)).

        The Tribe’s Tort Claims Ordinance provides that “No claim shall be

  pursued or sustained pursuant to this Act if a concurrent or alternate action

  seeking damages for an injury arising from the same incident has been filed in any

  other forum or venue. If such an action is filed in any other forum or venue during

  the pendency of a claim pursuant to this Act, the claim pursuant to this Act is and

  shall be considered to have been abandoned and shall not be eligible thereafter for

  an award of any kind. Abandoned claims shall not be eligible for arbitration. This

  provision shall not be construed to confer any right to bring an action in any other fo-

  rum, nor as acquiescence by the Tribe or its Gaming Operation to a claim of

  jurisdiction by a court or agency of any other sovereign.” Ordinance § 5(d). The

  Court finds that the petitioner filed an alternate action for damages for his alleged

  injury arising from the same incident. See Petition at ¶¶ 78-82. In addition,

  petitioner filed a Notice of Pendency of Other Action (“Notice”) as required by the

  Local Rule 83-1.4.1, identifying Cosentino v. Fuller, Riverside Sup. Ct. civil case

  number MCC 1300396. That Notice states that the “state civil action materially re-

  lates to the subject matter of Mr. Cosentino’s Petition to Compel Arbitration

  because the facts and causes of action stated against the Defendants in the state




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  civil action are the are the [sic] same facts and causes of action that Mr. Cosentino

  seeks to arbitrate against Respondents” Pechanga Band and Gaming Commission

  in this federal case. See Docket no. 5. Thus the petition and Notice effectively

  concede, and conclusively establish, that his claims against the Tribe and Gaming

  Commission are independently barred under Ordinance section 5(d), have been

  abandoned and are not eligible for arbitration thereunder.

               In addition, the petition is independently barred by section 5(h) of the

  Tribe’s Ordinance. “Employment-related claims of any kind by employees or

  former employees of the Gaming Operation ... may only be brought under the

  grievance procedures of the employing entity and shall in no case be cognizable

  under this Act. Employee workplace injuries occurring at the Gaming Facility are

  subject to the Pechanga Workers Compensation Ordinance and are not cognizable

  under this Act.” Ordinance § 5(h). The petition alleges that “Mr. Cosentino is a for-

  mer employee of the Pechanga Casino” and his claims are plainly related to his for-

  mer employment at the Tribe’s Gaming Facility. Pet. ¶ 13. See also Pet. ¶¶ 49,

  54, 58-60, 80, 82. Thus Ordinance section 5(h) provides an independent bar to

  petitioner’s claims.

        THEREFORE, IT IS ORDERED THAT respondents’ Motion to Dismiss is

  granted with prejudice.

  DATE: November 25, 2013
                                                  Hon. Manuel L. Real
                                         UNITED STATES DISTRICT COURT JUDGE




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